To The Honorable Judge:


My name is Toby Steltzer. I am writing this letter on behalf of Jonathan Braun. I have been
been very fortunate to know Jonathan since the day he was born. He is 5 weeks older than my
own son, and he has always been like one of my own children and I have watched him growing
up for 34 years.


I can say with true certainty that he is a very fine person that possesses good traits, I don’t just
say this as words. He has spent countless hours in my own home over the years so I have had
the chance to know the real Jonathan. He has always been a loving and caring human being and
is always kind to everyone. The love and devotion to his family is rarely something one sees in a
teenager,


His respect for his parents and especially his elderly grandmother Sophie with whom he was very
very close was very heartwarming to see. Unfortunately, Grandma Sophie spent her last year’s
visiting Jonathan in prison and she passed away in her 90’s before he was released, an incident
that heart-broke and devastated him.


I have always known him to be caring and compassionate to his friends , And always ready to
help out anyone in need. This was something I saw first hand many times. During his school
years, he was frequently involved in many charitable activities that benefited the community and
the needy.


I have had so much pleasure from Jonathan over the years. From the vacations that our families
took together, to working with him and my son on school and science projects, from the many
times he would join our families on outings, I always saw a wonderful young man that anyone
would be proud to call their son.


In the past years I have witnessed Jonathan being a wonderful uncle to his nephews. So close is
the bond between Jonathan and his 2 sisters and his nephews, that They would travel
respectively from Florida and Ohio, just to be able to see Jonathan for a brief period of time in
prison and for him to enjoy time with his nephews even though it was in less than ideal
circumstances.


When I needed someone to care for my younger daughter when I returned to school, Jonathan
was always someone I could trust to help me out and care for her responsibly. He always gave
up his personal time willingly. He continues to be part our family on a regular basis.
In the beginning of this letter, I discussed the Jonathan that I knew growing up. Jonathan is now
34 and a very caring Son, Husband and Father of 2 beautiful children. He has a lovely supportive
wife and a loving marriage. They are happily expecting their 3rd child soon.


In life, people often make poor choices that affect them negatively. Unfortunately Jonathan was
hanging out with a bad crowd for a while and allowed himself to get drawn into their bad choices.


On a rather personal note I would like to make a comment. For 20 years I have worked in a Bronx
city Hospital as a Physician assistant in pediatric emergency. I deal with adolescents of every
kind on a daily basis. They are Extremely rude, belligerent, threatening and even in a hospital
setting they come across as scary and threatening to our staff. Many of them are criminals, many
of them have raped, assaulted and stabbed people. They are rude, menacing and uncaring and it
scares me to think that this is our future. They have no concept of manners or respect.


The one thing that I can say about Jonathan is he never exhibited the type of behavior that I see
on a daily basis. Unlike the patients that I see in the ER, who have little or no future ahead of
them, Jonathan has a bright future ahead of him with a beautiful family, a supportive family and
an extraordinary work ethic. He is and will be a contributing member of society if given a chance.


With utmost respect,


Toby Steltzer, PA
